Case 2:20-cv-13134-LVP-RSW ECF No. 17, PageID.2098 Filed 12/01/20 Page 1 of 5




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Proposed Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
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__________________________________________________________________/

  PROPOSED INTERVENOR DEFENDANT ROBERT DAVIS’
   MOTION TO EXPEDITE BRIEFING, SCHEDULING AND
 ADJUDICATION OF PROPOSED INTERVENOR DEFENDANT

                                  Page 1 of 5
Case 2:20-cv-13134-LVP-RSW ECF No. 17, PageID.2099 Filed 12/01/20 Page 2 of 5




 ROBERT DAVIS’ EMERGENCY MOTION TO INTERVENE (ECF
                      NO. 12).


      NOW COMES, PROPOSED INTERVENOR DEFENDANT

ROBERT DAVIS, by and through his attorney, ANDREW A.

PATERSON, and for his Motion to expedite the briefing, scheduling and

adjudication of Proposed Intervenor Defendant Robert Davis’

Emergency Motion to Intervene (ECF No. 12), states the following:

      Proposed Intervenor Defendant Robert Davis respectfully asks

this Court to expedite the briefing, scheduling and adjudication of

Proposed Intervenor Defendant Robert Davis’ Emergency Motion to

Intervene (ECF No. 12). Expedited scheduling and briefing is

necessary because Plaintiffs have filed a motion for temporary

restraining order (ECF No. 7) in which Proposed Intervenor

Defendant Robert Davis desires to file a formal response in

opposition to as a party defendant. Additionally, Proposed

Intervenor Defendant Robert Davis desires to immediately file

a Rule 12(b)(6) motion to dismiss Plaintiffs’ frivolous claims.

      Proposed Intervenor Defendant Robert Davis acknowledges that,

in the ordinary course of events, the Eastern District of Michigan’s


                                  Page 2 of 5
Case 2:20-cv-13134-LVP-RSW ECF No. 17, PageID.2100 Filed 12/01/20 Page 3 of 5




Local Court Rules, allow 14 days for a response to a nondispositive

motion and another 7 days for the filing of a reply. While that schedule

is appropriate for almost all matters, here Proposed Intervenor

Defendant Robert Davis is confronted with a serious risk of severe harm

simply from the pendency of this litigation and due to Plaintiffs’

pending motion for temporary restraining order (ECF No. 7), which

Proposed Intervenor Defendant Robert Davis desires to file a formal

response in opposition to.

      Thankfully, the Local Rules for the Eastern District of Michigan

anticipate exceptions. Local Rule 1.2 explains:

            For good cause shown, for a particular matter, any Judge of
            this Court may temporarily suspend the operation of the
            Rules.

      More specifically related to the case at bar, a comment to Local Rule

7.1(e), advises as follows: “The court retains the inherent authority to

alter the briefing schedule.” This guidance is a logical extension of the

basic principle that the court is always empowered to manage its docket.

“With good reason, district courts ordinarily enjoy broad discretion in

matters of pretrial management, scheduling, and docket control.” Kimble

v Hoso, 439 F.3d 331, 2226 (6th Cir. 2006).


                                  Page 3 of 5
Case 2:20-cv-13134-LVP-RSW ECF No. 17, PageID.2101 Filed 12/01/20 Page 4 of 5




      Here, as noted, Proposed Intervenor Defendant Robert Davis is

confronted with the precise reason the exception exists considering this

matter pertains to an election-related issue that requires immediate

adjudication by this Honorable Court. Accordingly, Proposed Intervenor

Defendant Robert Davis proposes the following briefing and hearing

schedule for his pending Emergency Motion to Intervene (ECF No. 12):

            • Plaintiffs and Defendants’ Responses due Wednesday,
              December 2, 2020 by 2 p.m.
            • Proposed Intervenor Defendant Robert Davis’ Reply due,
              Thursday, December 3, 2020 by Noon.
            • No hearing is required. The Court can render a decision
              on the briefs and without argument on or before Friday,
              December 4, 2020.

      Proposed Intervenor Defendant Robert Davis realizes that the

relief sought is extraordinary, but these unusual circumstances warrant

this special consideration. Accordingly, Proposed Intervenor Defendant

Robert Davis would like to thank this Honorable Court for the

opportunity to brief this important issue.




                                  Page 4 of 5
Case 2:20-cv-13134-LVP-RSW ECF No. 17, PageID.2102 Filed 12/01/20 Page 5 of 5




Dated: December 1, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Proposed Intervenor
                                   Defendant Robert Davis
                                   2893 E. Eisenhower
                                   Ann Arbor, MI 48108
                                   (248) 568-9712

                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 1st day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 1, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Proposed Intervenor
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                                  Page 5 of 5
